         Case 1:16-cr-10343-ADB Document 736 Filed 02/19/19 Page 1 of 3



                                UNITED STATES DISTRICT COURT
                                 DISTRICT OF MASSACHUSETTS

                                                  )
 UNITED STATES OF AMERICA                         )
                                                  )
       v.                                         )       Criminal No. 16-CR-10343-ADB
                                                  )
 MICHAEL L. BABICH et al.,                        )
                                                  )
       Defendants.
                                                  )


       DEFENDANT JOSEPH ROWAN’S SUPPLEMENTAL MEMORANDUM
       REGARDING ADMISSIBILITY OF WHISTLEBLOWER TAPES
       Defendant Joseph Rowan submits this supplemental memorandum regarding the

admissibility of whistleblower tapes in light of new correspondence from the government. In

short, the Government is still trying to frustrate the admission of the tapes, but they are fully

admissible and Rowan requests that the Court admit them with the most expedited procedure

available.

        Defense counsel emailed the government on January 28, 2019 to ask whether the

government still intended to call the two whistleblowers who had made the tapes, Mia Guzman

and Raymond Furchak. Ex. 1, 01/28/2019 Correspondence. Defense counsel also inquired

whether, in the alternative, the government would be willing to stipulate to the transcripts and

voice identifications of its cooperating witnesses and the defendants, or arrange for the

whistleblowers to accept subpoenas to testify in the defense case. Ex. 2, 02/01/2019 &

02/02/2019 Correspondence. On Saturday, February 2, 2019, the government responded that it

no longer intended to call Ms. Guzman and Mr. Furchak to testify. Id. Further, the government

refused to ask the two whistleblowers to appear for the defense case and it did not respond to the

request for stipulations. Id.



                                                  1
         Case 1:16-cr-10343-ADB Document 736 Filed 02/19/19 Page 2 of 3



       The government’s response does not impede the Court’s ability to admit the tapes. The

government produced all of the tapes to defense counsel on prior occasions. ECF Nos. 714-1 &

2. The transmittal letters, id., are the government’s admission of the whistleblower tapes’

authenticity and that Mr. Rowan, Mr. Furchak and Ms. Guzman are on the tapes. ECF No. 714

(Mem. Tape Admissibility). In the interest of efficiency, the government may also stipulate to

the voice identification of its cooperators and the defendants in this case.

       Mr. Rowan will seek to admit and appropriately use on today’s cross of Mr. Napoletano

several of these whistleblower tapes, including a recording of Mr. Napoletano. Mr. Rowan

expects Mr. Napoletano to identify some of the taped speakers he is familiar with, such as

himself, Mr. Rowan, Mr. Gurry, and Mr. Burlakoff. United States v. Panico, 435 F.3d 47, 49 (1st

Cir. 2006) (Lay witness voice identification, “based on the witness' prior familiarity with a voice,

is a commonplace way in which voices are identified.”); see Fed. R. Evid. 901(b)(5)(witness can

identify speakers’ voices).

       Admission of the whistleblower tapes today would produce the fairest outcome for Mr.

Rowan, the most efficient for the Court and Jury, and the least disruption to the order of proof

and trial scheduling. To the extent the Court requires Ms. Guzman and Mr. Furchak to affirm the

tapes’ authenticity, Mr. Rowan hopes he will be able to satisfy Fed. R. Evid. 901 requirements

through certificates of the tapes’ authenticity obtained from both Ms. Guzman and Mr. Furchak.

This would be the second most efficient course of action, but it still imposes unnecessary delay

and burdens on the defense.

       If the Court requires their live testimony, Mr. Rowan requests the Court schedule any

such Rule 104(b) hearing during the government’s case-in-chief to allow Mr. Rowan to cross-

examine the government witnesses with this recorded evidence. Postponing the Rule 104(b)

                                                  2
         Case 1:16-cr-10343-ADB Document 736 Filed 02/19/19 Page 3 of 3



hearing to the defendants’ case-in-chief would be the least efficient option. If the Court proceeds

with such courtroom testimony, the Court should nevertheless limit the government’s cross-

examination of Ms. Guzman and Mr. Furchak during the defendants’ case-in-chief to the scope

of the direct, i.e. the tapes’ authenticity, voice identifications, and the accuracy of the transcripts.

        Dated: February 4, 2019                 Respectfully submitted,

                                                JOSEPH A. ROWAN

                                                By his counsel,

                                                /s/ Michael Kendall
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                                  CERTIFICATE OF SERVICE


      I hereby certify that, on the date of filing with the Court, true copies of the above
document are being served on all counsel of record by email.


                                                /s/ Michael Kendall
                                                Michael Kendall




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